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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA ex rel.      §
EDWARD HENDRICKSON,                   §
                                      §
                  Plaintiff-Relator   §
                                      §
v.                                    §    Civil Action No. 3:16-cv-292-M
                                      §
BANK OF AMERICA, N.A., et al.,        §
                                      §
                  Defendants.         §

                DEFENDANTS’ REPLY IN SUPPORT OF THEIR
         RULE 12(B)(1) MOTION TO DISMISS FOR LACK OF STANDING
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        Relator’s Opposition to Defendants’ Motion to Dismiss for Lack of Standing does not

cure Relator’s lack of Article III standing. First, Relator fails to rebut that the Treasury’s

regulations—31 C.F.R. § 210.1, et seq. (“Part 210”)—assign the right to collect government

losses, i.e. damages, to the Federal Reserve Bank. As a result, the sole basis for Article III

standing under Supreme Court precedent as a “partial assignee” of government damages in a

False Claims Act (“FCA”) action is not available to him. Second, Relator’s claims are premised

on the comprehensive regulatory scheme governing federal agency use of the ACH network and

its unique remedial scheme controlling the rights of federal agencies for “all” ACH entries.

Relator alleges conduct that is fully contemplated and addressed by Part 210. Stated differently,

there is nothing alleged that moves this case outside the exclusive remedies Part 210 provides

and, as a result, Relator’s allegations, at best, would establish a breach of contract claim. Relator

does not have standing for breach of contract claims, and this action should be dismissed.

                                          ARGUMENT
   I.      Relator Fails To Rebut Defendants’ Showing That The Right To Collect
           Government Damages In Connection With ACH Entries Was Previously
           Assigned To The Federal Reserve Bank, A Non-Governmental Entity.
        Relator dismisses in conclusory fashion the notion that he lacks Article III standing, but

the only basis for him to have standing to bring an FCA claim—as held by the Supreme Court—

was already assigned elsewhere. Part 210 assigns the Federal Reserve Bank the right to collect

damages in connection with all government payments over the ACH network, stating:

        If an RDFI does not return the full amount of the outstanding total or any other
        amount for which the RDFI is liable under this subpart in a timely manner, the
        Federal Government will collect the amount outstanding by instructing the
        appropriate Federal Reserve Bank to debit the account utilized by the RDFI.

31 C.F.R. § 210.10(e). With that assignment already made, Relator lacks standing here.

        Pursuant to controlling United States Supreme Court authority, an FCA relator has

standing to sue on behalf of the government only as a “partial assignee” of the government’s


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“damages claim.” Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 773

(2000). Relator’s Opposition fails to address this argument head on. Rather, Relator repeatedly

contorts and misstates Defendants’ position to invoke straw man arguments and to avoid the fact

that he does not have Article III standing to bring this case.

       Relator first argues that there was no assignment to the Federal Reserve Bank because

Part 210 does not use the term “assignment.” (Opp. at 14.) This argument ignores that although

the FCA never uses the word “assignment,” the Supreme Court nevertheless held in Stevens that

a relator’s standing to bring a claim under the FCA exists only because a relator is an assignee of

the government’s claim for damages. See 529 U.S. at 773. Plainly, under Stevens, there is no

requirement that Part 210 use the term “assignment” to effect an assignment by operation of law

to the Federal Reserve Bank. Also, Relator does not rebut Defendants’ authority showing that

this is unquestionably an assignment. (See Opening Br. at 14-15.) The transfer of a right to

collect damages owed is indisputably an assignment. See Sprint Commc’ns. Co., L.P. v. APCC

Servs., Inc., 554 U.S. 269, 282 (2008) (“Lawsuits by assignees, including assignees for collection

only, are ‘cases and controversies of the sort traditionally amenable to, and resolved by, the

judicial process.’”) (quoting Stevens, 529 U.S. at 777-78); see also Black’s Law Dictionary (10th

Ed. 2014) (“assignment” is the “transfer of rights or property”). Relator has failed to show that

Part 210 did not transfer the government’s right to collect damages to the Federal Reserve Bank.

       Relator’s second argument also ignores Stevens, misstates the nature of the assignment

detailed by the Supreme Court—the right to collect damages—and asserts that there has been no

assignment to the Federal Reserve Bank because Part 210 gives the Federal Reserve Bank no

authority to investigate, conduct discovery, or pursue false claims. (Opp. at 14.) But this

assertion is simply beside the point. A relator has standing under the FCA only as an assignee of




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the government’s damages claim. See Stevens, 529 U.S. at 773; see also Little v. Shell Expl. &

Prod. Co., 690 F.3d 282, 285 (5th Cir. 2012) (representational standing for relators “exists

because a qui tam relator is, in effect, suing as a partial assignee of the United States’ claim for

damages”) (emphasis added). The Supreme Court made no mention of an assigned right to

investigate or conduct discovery, as the Relator argues here. See Stevens, 529 U.S. at 772-74.

Moreover, Relator ignores that Part 210 assigns a greater remedial right than mere investigatory

powers—it authorizes the Federal Reserve Bank to affirmatively take funds from the RDFI’s

account. See 31 C.F.R. § 210.10(e). There is no credibility to Relator’s position, as the

government is always able to collect any damages it suffers—without even bringing a lawsuit.

        Relator’s third argument mistakes the role of the Federal Reserve Bank in the ACH

system. Relator asserts that “[n]o regulatory provision … states or even hints” at the conclusion

that the Federal Reserve Bank is not a government agency. (Opp. at 15.) This assertion is

contradicted by the very regulations on which Relator bases his claims. Part 210 defines the term

“Agency,” stating “[t]he term agency does not include a Federal Reserve Bank.” 31 C.F.R.

§210.2(c). Despite this unequivocal language, Relator argues that any such regulation would be

invalid “because prosecuting fraud against United States agencies is within the sole purview of

the United States Department of Justice.” (Opp. at 15.) Relator’s reasoning is misplaced. The

issue of whether prosecution of fraud is within the sole purview of the Department of Justice is

irrelevant to the vital issue here, i.e., whether this Relator has standing to bring this lawsuit as a

partial assignee of the government’s damages claim.1 Part 210 assigned the right to collect the

government’s damages from ACH entries to the Federal Reserve Bank, a non-governmental


1
         If civil penalties for fraud were in the exclusive purview of the Department of Justice, as Relator claims,
qui tam suits would be a nullity, and other government agencies could not impose penalties for fraud despite having
statutory authority to do so. See, e.g., Food, Drug, and Cosmetic Act § 307(b)(1)(A) (authorizing Secretary of Health
and Human Services to impose penalties for knowing false statements and/or misrepresentations of material fact).


                                                         3
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entity, long before this Relator filed this action. As Defendants established, Supreme Court

precedent recognizes the bedrock principle of assignment that first in time is first in right. (See

Opening Br. at 16.) Given this prior assignment, Relator has no standing to bring this claim.

         Relator’s fourth argument is also misleading. Relator frames Defendants’ position as one

arguing that “Relator has not been assigned a right to pursue the Government’s administrative

remedies.” (Opp. at 15.) This is categorically not Defendants’ position. Given this distortion, it

bears repeating that Relator cannot be an assignee of any government claim to damages in

connection with ACH entries because the right to collect damages was assigned prior to Relator

filing suit. In an effort to support this misplaced argument, Relator cites Stevens for the

proposition that—separate and apart from government damages—a relator has standing to pursue

treble damages, fines and penalties. (Opp. at 16 (citing Stevens, 529 U.S. at 775, 777, nn. 6-7).)

However, the portions of Stevens that Relator relies on make reference to an English statute

passed in 1331 and laws passed by the First Continental Congress in 1789, which do not support

Relator’s flawed argument. The Supreme Court referred to these laws merely as part of the

historical recitation of the history of qui tam and similar suits, and the Court’s ruling in Stevens

was unequivocal that a relator receives a partial assignment of the government’s right to damages

and nothing more. See Stevens 529 U.S. at 773. There is, therefore, no legitimate basis for

Relator to claim he is the assignee of a government claim for fines and penalties—he could not

be the transferee of an inherently governmental responsibility. (See Opening Br. at 17.)

   II.      Part 210’s Remedial Provisions Specifically And Comprehensively Address The
            Conduct Asserted By Relator And Displace Any Potential Remedy Under the
            FCA.
         Part 210’s scope is broad: “The rights and obligations of the United States and Federal

Reserve Banks with respect to all government entries … are governed by this part, which has

the force and effect of Federal law.” 31 C.F.R. § 210.3(a) (emphasis added). Part 210 lays out a


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comprehensive scheme that fully addresses the conduct Relator alleges: Subpart A proscribes the

exclusive remedy for the recovery of recurring benefit payments made by government agencies

to deceased recipients (see 31 C.F.R. § 210.8(b)); and Subpart B sets the amount and method for

recovery of any loss in connection with the reclamation procedure, including reclamations for

payments after DNEs were sent and reclamations related to inaccurate certifications. See 31

C.F.R. §§ 210.10-11.2 Thus, even taking Relator’s allegations as true, the conduct that Relator

points to—and any consequences therefrom—are completely covered by Part 210 and, at most,

potentially establish a breach of contract claim for failure to comply with the regulations.3 For

Relator to take his allegations out of the regulatory remedial process and have standing to

proceed here, he would have to allege more than noncompliance or imperfect compliance with

the regulations. See 31 C.F.R. §§ 210.10-11. But Relator does not and cannot do so. Count I

falls squarely within the regulatory remedial framework. Count II merely asserts that the Court

should infer a false certification,4 without explanation of how this inaccuracy takes this

allegation out of the regulatory process (which specifically addresses inaccurate responses) and

into FCA liability. In short, nothing Relator alleges brings this case within the realm of FCA

liability, and Relator does not have standing to bring such a breach of contract case on behalf of

the government. (Opening Br. at 12.)




2
          Further evidencing the conclusive intent of Part 210 is the directive in the Green Book that once an RDFI’s
liability is established, the “debit action [taken by the Federal Reserve Bank] will be final.” Green Book at 5-5
(emphasis added).
3
         As Relator concedes, acceptance of recurring monthly benefit payments results in a contractual agreement
between the agency and an RDFI. (See Am. Compl. at ¶ 28). Even if Defendants failed to do what was required by
either Subpart A or Subpart B—which Defendants vigorously dispute—the result can be no more than a breach of
the contractual obligation to comply with these regulatory directives.
4
        Relator asks for the Court to infer a false certification on an NOR whenever a bank fails to return the full
amount of post-death payments.


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         Relator never addresses the express language of § 210.3 or Part 210’s comprehensive

remedial scheme. Instead, Relator cites case law purportedly holding that regulatory violations

are always the basis for FCA claims and that Defendants must establish that the FCA remedy is

displaced or preempted. (Opp. at 10-13.) But, these cases do not involve the unique

circumstances here. Indeed, the regulatory scheme in Part 210 is unique and like no other

regulatory matter previously addressed in the context of a FCA case. The FCA is intended to

protect the Treasury. But, it is the Treasury (through the Congressional authority granted to it)

that promulgated rules to address the ACH system. See 31 U.S.C. § 321. Part 210 is part of the

legal framework established by Title 31, along with the FCA. It is in that context that the

government states that the “rights” for “all Government entries” are governed by Part 210, and

not the FCA portion of Title 31.5 Part 210 and the FCA are directed to the same (i) purpose and

(ii) conduct: protecting public funds and recovering overpayments.

         Relator’s preemption position is far too sweeping. Under his approach, the FCA could

never be displaced unless Congress explicitly states as much. But this is wrong. Statutory

displacement turns on a careful analysis of the language and legislative intent of the two

authorities involved in each case. Each case is sui generis, and a generalized assertion that the

FCA is never preempted simply cannot be made, as the cases cited by Relator amply illustrate.6

         The decision in Accudyne, cited by Relator, proves the error of Relator’s argument. The

plaintiff alleged that the defendant violated the FCA by including false information in documents


5
         See RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012) (citing HCSC-Laundry
v. United States, 450 U.S. 1, 6 (1981) (the specific governs the general “particularly when the two are interrelated
and closely positioned, both in fact being parts of [the same statutory scheme]”)) (alteration in original).
6
          See, e.g., United States ex rel. Sutton v. Double Day Office Servs., Inc., 121 F.3d 531, 534 (9th Cir. 1997)
(comparing statutory frameworks before concluding that FCA claim and Service Contract Act claims are based on
different conduct); United States ex rel. Fallon v. Accudyne Corp., 880 F. Supp. 636, 639 (W.D. Wis. 1995) (noting
that FCA may be displaced by authority addressing the same conduct and holding hold no preemption of FCA by
environmental laws because “the FCA and environmental statutes provide remedies for entirely different conduct”).


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submitted to obtain government contracts. See 880 F. Supp. at 638. The defendant moved to

dismiss, arguing that because the alleged conduct was subject to a comprehensive regulatory

scheme, the relator could not bring a qui tam action under the FCA. See id. at 638-39. The court

recognized that “[n]otwithstanding that a claim falls within the literal reading of a statute, it is

sometimes held to be unavailable because another more detailed statute evidences Congressional

intent to pre-empt the more general claim which relates to conduct for which the other statute

provides a detailed remedy.” Id. at 639. The court examined the environmental regulatory

scheme and held that this rule did not apply because “the FCA and the environmental statutes

provide remedies for entirely different conduct.” Id. The court contrasted that scheme with the

remedies set forth in the Internal Revenue code—which governed the “same conduct” as the

FCA, protecting the Treasury from loss—and noted that they are outside the scope of the FCA

even in the absence of an express exclusion of the Internal Revenue Code in the FCA. See id.

(“[I]t follows that Congress would not intend to duplicate those remedies with an FCA claim

arising from the identical conduct. Not surprisingly, such claims are now expressly excluded

from application of the FCA.”). This rationale applies here. Part 210 is housed with the same

legal framework protecting public funds as the FCA. Part 210 is expressly directed towards

remedying and recouping any loss to government agencies premised on the conduct alleged by

the Relator, and application of the FCA in this context is therefore, redundant and displaced.

                                         CONCLUSION
       For the foregoing reasons and the reasons set forth in their Opening Brief, Defendants

respectfully request that the Court enter an Order dismissing Relator’s Amended Complaint with

prejudice because there is not subject matter jurisdiction due to Relator’s lack of standing.




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                               CERTIFICATE OF SERVICE

       I certify that I served a copy of the foregoing on all counsel of record via the Courts’

CM/ECF system on December 20, 2017.

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